                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


CARPENTERS DISTRICT COUNCIL                )
OF KANSAS CITY PENSION FUND,               )
a Trust Fund, et al.                       )
                                           )
                     Plaintiffs,           )      Case No. 18-00004-CV-W-ODS
                                           )
vs.                                        )
                                           )
INSTALL SOLUTIONS LLC,                     )
                                           )
                     Defendant.            )

                      ORDER ENTERING CONSENT JUDGMENT
       Pending is a motion for entry of consent judgment filed by the parties. Doc. #24.
The parties attached their consent judgment agreed to and signed by counsel for both
parties. Doc. #24-1. Accordingly, the motion is granted. The Clerk of the Court shall
enter judgment in Plaintiffs’ favor and against Defendant in the amount of $435,395.02
for delinquent contributions for the period March 6, 2017 through January 14, 2018,
interest in the amount of $21,524.33, liquidated damages in the amount of 85,164.25,
and $16,867.37 for attorney’s fees and costs, for a total sum of $558,950.97. Said total
sum shall be paid to Plaintiffs within thirty days of the entry of this judgment in
accordance with the terms of the parties’ consent judgment.


IT IS SO ORDERED.
                                                   /s/ Ortrie D. Smith
DATE: August 15, 2018                              ORTRIE D. SMITH, SENIOR JUDGE
                                                   UNITED STATES DISTRICT COURT




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